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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
     Attorney for Defendant
6    DAVID DEAN DAVIDSON
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. 2:04-CR-00004 MCE
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
13        v.                         )     CONTINUING STATUS CONFERENCE
                                     )     AND EXCLUDING TIME
14   DAVID DEAN DAVIDSON,            )
                                     )
15                  Defendant.       )     Date: August 14, 2008
                                     )     Time: 9:00 a.m.
16   _______________________________ )     Judge: Morrison C. England, Jr.
17
18        It is hereby stipulated and agreed between defendant, DAVID DEAN
19   DAVIDSON, and plaintiff, United States of America, by and through their
20   attorneys, that the status conference presently scheduled for August
21   14, 2008 may be continued to October 2, 2008 at 9:00 a.m.
22        Counsel for Mr. Davidson continues to review voluminous and
23   extensive discovery provided by previously-retained counsel, and
24   continues his factual investigation of the case.        In order to afford
25   time to complete various tasks necessary to the defense of this case,
26   the parties agree that time under the Speedy Trial Act should be
27   excluded from the date of this order through October 2, 2008, pursuant
28   to Title 18, United States Code, Section 3161(h)(8)(A) and (B)(iv)
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1    (Local Code T4).
2                                     Respectfully Submitted,
3                                     DANIEL J. BRODERICK
                                      Federal Defender
4
5    Dated:   August 11, 2008         /s/ T. Zindel
                                      TIMOTHY ZINDEL
6                                     Assistant Federal Defender
                                      Attorney for DAVID DEAN DAVIDSON
7
8                                     McGREGOR W. SCOTT
                                      United States Attorney
9
10   Dated:   August 11, 2008         /s/ T. Zindel for M. Stegman
                                      MATT STEGMAN
11                                    Assistant U.S. Attorney
12                                     O R D E R
13        The status conference is continued to October 2, 2008 at 9:00 a.m.
14   The court finds that a continuance is necessary for the reasons stated
15   above and further finds that the ends of justice served by granting a
16   continuance outweigh the best interests of the public and the defendant
17   in a speedy trial.   Time is therefore excluded from the date of this
18   order through October 2, 2008, pursuant to 18 U.S.C. § 3161(h)(8)(A)
19   and (B)(iv).
20        IT IS SO ORDERED.
21   Dated: August 13, 2008

22
                                         _____________________________
23
                                         MORRISON C. ENGLAND, JR.
24                                       UNITED STATES DISTRICT JUDGE

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